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United States District Court
District of Massachusetts

 

UNITED STATES of AMERICA,

Criminal Action No.
16-10305-NMG

v.
MARTIN GOTTESFELD,

Defendant.

higgvava

 

ORDER
GoRToN , J.

The Court directs personnel at the Plymouth County
Correctional Facility to provide Martin Gottesfeld full access
for the next 48 hours to any legal materials related to his
sentencing hearing on Thursday, January lO, 2019, for the

purposes of preparation for that hearing.

So ordered.

WMWZM

Nathaniel M. Gorton
United States District Judge
Dated January gj, 2019

